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6      15005 NW Cornell LLC

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12     Tasha Teherani-Ami, in her capacity as the Trustee of
       the Sonja Dinihanian GST Trust DTS 01/01/11
13
                                    UNITED STATES BANKRUPTCY COURT
14
                                          FOR THE DISTRICT OF OREGON
15
       In re
16                                                     Bankruptcy Case Nos.
       15005 NW CORNELL LLC, and
17                                                     19-31883-dwh11 (Lead Case)
       VAHAN M. DINIHANIAN, JR.                        19-31886-dwh11
18
                             Debtors. 1                Jointly Administered Under
19                                                     Case No. 19-31883-dwh11
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25      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
       number, are: 15005 NW Cornell LLC (5523) and Vahan M. Dinihanian, Jr. (0871) (Case No. 19-31886-
26     dwh11)).
                                                                                   Perkins Coie LLP
PAGE   1-      STIPULATED MOTION FOR EXTENSION OF                            1120 N.W. Couch Street, 10th Floor
               TIME TO FILE SUMMARY JUDGMENT                                     Portland, OR 97209-4128
               MOTIONS                                                             Phone: 503.727.2000
       153316194.1                                                                  Fax: 503.727.2222
                                 Case 20-03079-dwh        Doc 23     Filed 08/03/21
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2      15005 NW CORNELL LLC, an Oregon                        Adv. Proc. No. 20-03079-dwh
       limited liability corporation,
3
                                 Plaintiff,                  STIPULATED MOTION FOR EXTENSION
4                                                            OF TIME TO FILE SUMMARY
              v.
                                                             JUDGMENT MOTIONS
5
       TASHA TEHERANI-AMI, IN HER
6      CAPACITY AS THE TRUSTEE OF THE
       SONJA DINIHANIAN GST TRUST DTS
7      01/01/11,
8
                                 Defendant.
9

10                                                          MOTION
11                 Counsel for plaintiff 15005 NW Cornell LLC (“Cornell”) and defendant Tasha Teherani-Ami, in
12     her capacity as the Trustee of the Sonja Dinihanian GST Trust DTS 01/01/11 (the “Trust,” and together
13     with Cornell the “Parties”) respectfully move the Court to enter an Order in the form of the attached
14     (Exhibit 1) on a stipulated basis, extending the deadline for the Parties to file Summary Judgment
15     Motions from August 3, 2021 to August 5, 2021.
16                 In support of this motion, the Parties assert the following:
17                 1.     On June 29, 2021, the Court held a Continued Pretrial Conference at which the Parties
18     agreed, as reflected in the Record of Proceeding (Dkt. 20), that Summary Judgment Motions would be
19     filed on or before August 3, 2021.
20                 2.     The Parties have discussed the deadline and have mutually agreed the date should be
21     extended by two days, from August 3, 2021 to August 5, 2021 and to respectfully convey that request on
22     a stipulated basis to the Court.
23     ///
24     ///
25     ///
26     ///
                                                                                         Perkins Coie LLP
PAGE   2-    STIPULATED MOTION FOR EXTENSION OF                                    1120 N.W. Couch Street, 10th Floor
             TIME TO FILE SUMMARY JUDGMENT                                             Portland, OR 97209-4128
             MOTIONS                                                                     Phone: 503.727.2000
       153316194.1                                                                        Fax: 503.727.2222
                                      Case 20-03079-dwh          Doc 23     Filed 08/03/21
1               3.   The Parties agree the remainder of the briefing and hearing schedule should remain the

2      same.

3               IT IS SO STIPULATED.

4      Dated: August 3, 2021                           PERKINS COIE LLP
5
                                                       By: /s/ Douglas R. Pahl
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                                                           Facsimile: 503.727.2222
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                                                      Counsel for Plaintiff and Debtor
11                                                    15005 NW Cornell LLC
12
       DATED: August 3, 2021                           WYSE KADISH LLP
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                                                       By: /s/ Bruce H. Orr
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                                                           Bruce H. Orr, OSB No. 813297
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19                                                    Counsel for Defendant and Creditor
                                                      Tasha Teherani-Ami, in her capacity as the
20                                                    Trustee of the Sonja Dinihanian GST Trust DTS
                                                      01/01/11
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                                                                                  Perkins Coie LLP
PAGE   3-    STIPULATED MOTION FOR EXTENSION OF                             1120 N.W. Couch Street, 10th Floor
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       153316194.1                                                                 Fax: 503.727.2222
                                Case 20-03079-dwh        Doc 23     Filed 08/03/21
 EXHIBIT 1




Case 20-03079-dwh   Doc 23   Filed 08/03/21
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                                     UNITED STATES BANKRUPTCY COURT
9
                                          FOR THE DISTRICT OF OREGON
10

11     In re
                                                       Bankruptcy Case Nos.
12     15005 NW CORNELL LLC, and
                                                       19-31883-dwh11 (Lead Case)
13     VAHAN M. DINIHANIAN, JR.                        19-31886-dwh11
14                           Debtors. 1                Jointly Administered Under
                                                       Case No. 19-31883-dwh11
15

16     15005 NW CORNELL LLC, an Oregon                 Adv. Proc. No. 20-03079-dwh
       limited liability corporation,
17
                            Plaintiff,                 ORDER GRANTING STIPULATED
18                                                     MOTION FOR EXTENSION OF TIME
               v.                                      TO FILE SUMMARY JUDGMENT
19                                                     MOTIONS
       TASHA TEHERANI-AMI, IN HER
20     CAPACITY AS THE TRUSTEE OF THE
       SONJA DINIHANIAN GST TRUST DTS
21
       01/01/11,
22
                            Defendant.
23

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25      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
       number, are: 15005 NW Cornell LLC (5523) and Vahan M. Dinihanian, Jr. (0871) (Case No. 19-31886-
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                                                                                   Perkins Coie LLP
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               SUMMARY JUDGMENT MOTIONS                                            Phone: 503.727.2000
       153316194.1                                                                  Fax: 503.727.2222      Exhibit
                                                                                                                1
                                 Case 20-03079-dwh        Doc 23     Filed 08/03/21                   Page 1 of 3
1               THIS MATTER came before the Court on plaintiff 15005 NW Cornell LLC (“Cornell”) and

2      defendant Tasha Teherani-Ami’s, in her capacity as the Trustee of the Sonja Dinihanian GST Trust DTS

3      01/01/11 (the “Trust,” and together with Cornell the “Parties”) Stipulated Motion for Extension of

4      Time to File Summary Judgment Motions (the “Motion”). The Court having reviewed the Motion, and

5      being otherwise duly advised, now, therefore,

6               IT IS HEREBY ORDERED as follows:

7               1.     The deadline for the Parties to file Summary Judgment Motions is extended to August 5,

8      2021.

9
                                                         ###
10

11     Presented By:
         PERKINS COIE LLP
12
            By: /s/ Douglas R. Pahl
13
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                Matthew J. Mertens, OSB No. 146288
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        Counsel for Plaintiff and Debtor
        15005 NW Cornell LLC
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                                                                                   Perkins Coie LLP
PAGE   2-     ORDER GRANTING STIPULATED MOTION                               1120 N.W. Couch Street, 10th Floor
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       153316194.1                                                                  Fax: 503.727.2222      Exhibit
                                                                                                                1
                                  Case 20-03079-dwh       Doc 23     Filed 08/03/21                   Page 2 of 3
1
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        Tasha Teherani-Ami, in her capacity as the
9       Trustee of the Sonja Dinihanian GST Trust DTS
        01/01/11
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                                                                              Perkins Coie LLP
PAGE   3-     ORDER GRANTING STIPULATED MOTION                          1120 N.W. Couch Street, 10th Floor
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                                                                                                           1
                                  Case 20-03079-dwh     Doc 23   Filed 08/03/21                  Page 3 of 3
1                                           CERTIFICATE OF SERVICE

2               The undersigned hereby certifies that on the date set forth below they caused the foregoing

3      STIPULATED MOTION FOR EXTENSION OF TIME TO FILE SUMMARY JUDGMENT

4      MOTIONS to be served via the CM/ECF system on the parties set forth below:

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        Counsel for Defendant and Creditor                     Counsel for Debtor
        Tasha Teherani-Ami, in her capacity as the             Vahan M. Dinihanian, Jr.
9       Trustee of the Sonja Dinihanian GST Trust DTS
        01/01/11
10

11
       Dated: August 3, 2021                        PERKINS COIE LLP
12
                                                    By: /s/ Douglas R. Pahl
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18                                                 Counsel for Plaintiff and Debtor
                                                   15005 NW Cornell LLC
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PAGE   1-     CERTIFICATE OF SERVICE                                               Portland, OR 97209-4128
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                                   Case 20-03079-dwh        Doc 23     Filed 08/03/21
